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 ROBINSON MILLER LLC
 Keith J. Miller (kmiller@rwmlegal.com)
 Michael J. Gesualdo (mgesualdo@rwmlegal.com)
 Justin T. Quinn (jquinn@rwmlegal.com)
 Ironside Newark
 110 Edison Place, Suite 302
 Newark, New Jersey 07102
 (973) 690-5400

 KRAMER LEVIN NAFTALIS & FRANKEL LLP
 Mark A. Baghdassarian (admitted pro hac vice)
 Aaron M. Frankel (admitted pro hac vice)
 Eileen M. Patt (admitted pro hac vice)
 1177 Avenue of the Americas
 New York, New York 10036
 (212) 715-9100
 mbaghdassarian@kramerlevin.com
 afrankel@kramerlevin.com
 epatt@kramerlevin.com

 Attorneys for Defendants Sirius XM Holdings Inc.,
 Sirius XM Radio Inc., and James E. Meyer

                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


  JEFFREY PARRELLA, on behalf of
  himself and all others similarly situated,
                                               Civil Action No.: 3:19-cv-15778-
               Plaintiff,
                                               AET-ZNQ
        v.
                                               ORDER GRANTING
                                               DEFENDANTS’ MOTION TO
  SIRIUS XM HOLDINGS INC. d/b/a
                                               COMPEL ARBITRATION AND
  SIRIUS XM SATELLITE RADIO;
                                               DISMISS THE COMPLAINT
  SIRIUS XM RADIO INC.; and JAMES
  E. MEYER,

               Defendants.
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       THIS MATTER having been brought before the Court on behalf of

 Defendants Sirius XM Holdings Inc., Sirius XM Radio Inc., and James E. Meyer by

 way of a motion to compel arbitration pursuant to the Federal Arbitration Act, 9

 U.S.C. § 1 et seq. and to dismiss Plaintiff’s class claims, and this Court having fully

 considered the parties’ respective submissions, as well as the record before it; and

 for good cause shown:

       IT IS on this _____ day of ____________________ 2019

       ORDERED that Defendants’ Motion to Compel Arbitration pursuant to the

 Federal Arbitration Act, 9 U.S.C. § 4, be and hereby is granted; and it is further

       ORDERED that Plaintiff’s class claims are hereby dismissed with prejudice

 and Plaintiff’s claims shall be arbitrated on an individual basis.



                                         ________________________________
                                         Honorable Anne E. Thompson, U.S.D.J.
